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      "l>.AO 245B (CASD) (Rev. 1/12)   Judgment in a Criminal Case
                 Sheet 1




                                                 UNITED STATES DISTRICT CoMP II PM 3: 21
                                                     SOUTHERN DISTRlCT OF CALIFORNI1<,";"
                      UNITED STATES OF AMERICA                                      JUDGMENT IN A CRIMINAL CASE                                   ~
                                           v.                                       (For Offenses Committed On or After NovembeIOElW&'l)

                  ISIDRO REGALADO RODRIGUEZ (2)                                     Case Number: 12CR2115-IEG
                     Charged as: Antonio Adame-Ortiz
                                                                                     ROBERT C. SCHLEIN
                                                                                    Defendant's Attorney
     REGISTRATION NO. 32983298

     o
     THE DEFENDANT:
     181 pleaded guilty to count(s) _5_0_F_T_H_E_IND_I_C_T_ME_N_T_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
     o was found guilty on count(s)_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
           after a plea of not guilty.
           Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                                             Count
     Title & Section                            Natnre of Offense                                                                           Number(s)
8: 1324(a)(l )(A)(ii), (v)(ll)            CONSPIRACY TO TRANSPORT ILLEGAL ALIENS                                                             5




         The defendant is sentenced as provided in pages 2 through _ _=2_ _ ofthis judgment. The sentence is imposed pursuant
  to the Sentencing Reform Act of 1984.
  o    The defendant has been found not guilty on count(s)
                                                               ----------------------------------------------
  18) Count(s)_re_m_a_in_i...;ng=-_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ is 0        arel8) dismissed on the motion of the United States.
  181 Assessment: $100 waived.

  181 Fine waived                                      0 Forfeiture pursuant to order filed                                     , included herein.
        IT IS ORDERED !hat the defendant shall notify !he United States Attomey for !his district within 30 days of any change of name, residence,
  or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
  defendant shall notify the court and United States Attomey of any material change in the defendant's economic circumstances.
                                                                                SEPTEMBER 10,2012




                                                                                                                                                 12CR2115-IEG
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AO 245B (CASD)(Rev. (1l2) Judgment in a Criminal Case
           Sheet 2 -- Imprisonment

                                                                                             Judgment - Page _....;2_ of    2
 DEFENDANT: ISIDRO REGALADO RODRIGUEZ (2)
 CASE NUMBER: 12CRl115-IEG
                                                           IMPRISONMENT
        The defendant is hereby committed to the custody ofthe United States Bureau of Prisons to be imprisoned for a term of
         Time Served.




    o    Sentence imposed pursuant to Title 8 USC Section 1326(b).
    o   The court makes the following recommendations to the Bureau of Prisons:




    o   The defendant is remanded to the custody of the United States Marshal.

    o   The defendant shall surrender to the United States Marshal for this district:
           Oat                                   Oa.m.      Op.m.       on _ _ _ _ _ _ _ _ _ _ _ _ _ __

               as notified by the United States Marshal.

    o   The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
          o    before
                        -------------------------------------------------------------
          o    as notified by the United States Marshal.
          o as notified by the Probation or Pretrial Services Office.
                                                              RETURN
 I have executed this judgment as follows:

         Defendant delivered on                                                 to

 at _ _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.


                                                                                           t;NITED STATES MARSHAL


                                                                    By _________~~~~~~~~~~---------
                                                                                        DEPUTY UNITED STATES MARSHAL




                                                                                                                     12CRll15-IEG
